        IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                                  PENNSYLVANIA


        JOSHUA GILL,

                           Plaintiff

                         vs.

       BEST BUY CO., INC.,

                               Defendant                                                              JURY TRIAL DEMANDED



                                                                       COMPLAINT

                AND NOW, comes the Plaintiff, JOSH GILL, by and through his attorney, John

Newborg, Esquire, and files this Complaint against Defendant, BEST BUY CO., INC., and

represents the following:

                                                         JURISDICTION AND VENUE

                1.             The jurisdiction of this Court is predicated upon 28 U.S.C. Section 1331 and

1343, to redress the unlawful deprivation of Plaintiff’s rights secured, guaranteed and protected

by federal law.

         	     2.	           In	  addition,	  this	  Court	  has	  jurisdiction	  over	  Plaintiff's	  claims	  pursuant	  to	  Section	  706	  

of	  the	  Civil	  Rights	  Act	  of	  1964,	  as	  amended,	  42	  U.S.C.A	  §2000e-­‐16	  (c)	  

                3.             This Court has pendant jurisdiction over Plaintiff’s state law claims pursuant to 28

U.S.C. Section 1367.

                4.             Venue is proper in the United States District Court for the Western District of

Pennsylvania pursuant to 28 U.S.C. Section 1391(b), wherein Plaintiff resides, Defendants

regularly conduct business and all the wrongful conduct occurred in the Western District of

Pennsylvania.

                                                                                                                                            Page	  1	  of	  22	  
	  
                           ADMININSTRATIVE PREREQUISITES

       5.      Plaintiff has complied with all the administrative prerequisites to file an action

under Section 706 of Title VII of the Civil Rights Act of 1964,as amended, 42 U.S.C. Sec. 2000e-

5 and the Pennsylvania Human Relations Act, as amended, 43 P.S. §§951-963 as follows:

            a. On or about October 31st, 2013, Plaintiff timely filed a formal complaint with the
               Equal Employment Opportunity Commission (hereinafter referred to as EEOC),
               which was dually filed with the Pennsylvania Human Relations Commission
               (hereinafter referred to as PHRC);

            b. On April 30, 2015 Plaintiff received a Right to Sue letter from the EEOC;

            c. Plaintiff filed suit within 90 days of receipt of the Right to Sue letter;



                                             PARTIES

       6.      Plaintiff, Josh Gill, an African American, is an adult male individual and citizen

of the United States who resides at 510 Parkway Street, Ambridge, Pennsylvania.

       7.      Defendant, Best Buy Co., Inc. (hereinafter "Best Buy") is a corporation doing

business in the Commonwealth of Pennsylvania, with its headquarters and principal place of

business located 7601 Penn Avenue South, Richfield, MN 55423.

       8.      Plaintiff was an employee of the Best Buy store located at 220 Golfview Drive,

Monaca, PA 15061, store number 684.

       9.      At all relevant times, Defendant Best Buy employed in excess of fifteen (15)

employees and was an employer within the meaning of Title VII of the Civil Rights Act of 1964,

as amended, 42 U.S.C. Sec. 2000e-2 et. seq. and the Pennsylvania Human Relations Act, 43 P.S.

§§954(b);




                                                                                            Page	  2	  of	  22	  
	  
        10.     At all times Best Buy acted through its authorized employees who were acting

within the course and scope of their employment.


                                         FACTUAL ALLEGATIONS

        11.     In October 2013 Defendant Best Buy posted online the availability of a fulltime

position in Asset Protection for Defendant's Stone Quarry Store # 684 located in Monaca,

Pennsylvania.

        12.     The basic requirements for the Asset Protection position were for the candidate to

have a high school diploma or equivalent and the preferred requirements were for the candidate

to have an Associate Degree along with 3 months of experience in safety and/or security

        13.     Plaintiff was well qualified for the Asset Protection position, as he has an

extensive amount of experience in security and Plaintiff had an Associate’s Degree in

Specialized Business – Criminal Justice.

        14.     Plaintiff was brought in for an interview in mid-October, 2012 and at that time

Plaintiff was told that the Asset Protection position did not exist at that particular store, but his

application would stay on file for approximately a one (1) years’ time period if the position was

created.

        15.     Defendant then offered Plaintiff a seasonal position to work in the warehouse area

of the store.

        16.     Plaintiff accepted the offer and commenced work in the warehouse on November

9, 2012.

        17.     In fact, the Asset Protection position did exist and Defendant Best Buy continued

to search for a person of Caucasian decent to hire for the Asset Protection position.




                                                                                           Page	  3	  of	  22	  
	  
         18.    On or about March 2, 2013, Defendant posted an opening for the position of Asset

Protection in the Monaca, Pennsylvania store. (See attached Exhibit "A")

         19.    The reason given for Defendant Best Buy failing to hire Plaintiff for the fulltime

Asset Protection position was a mere pretext for unlawful discrimination, in which Defendant

Best Buy removed the position posting for a few months, and then hired a Caucasian male in

July of 2013.

         20.    Instead of being awarded the fulltime position in which he applied for and was

qualified for, the Plaintiff was hired as a seasonal worker, whose primary function was physical

labor.

         21.    Furthermore, after hiring Plaintiff, Defendant Best Buy hired numerous Caucasian

employees to work on the sales floor during the holiday season, without offering the Plaintiff a

position on the sales floor, even though the Plaintiff had sales experience.

         22.    Plaintiff was the only African American working at the Monaca, Pennsylvania

Best Buy Store.

         23.    After starting work as a seasonal employee in the warehouse, the Plaintiff was

continuously treated differently than the other employees and harassed based upon his race in the

following instances:

                a)     On or about November 25, 2012 co-employee Schafer asked Plaintiff for

         his autograph and later in the day, he began reciting lines from the movie “Snakes on a

         Plane”, a movie in which African-American actor Samuel L. Jackson played a role;

                b)     Plaintiff informed Schafer that the comments were unwelcomed;




                                                                                       Page	  4	  of	  22	  
	  
              c)        On or about November 27, 2012, Shafer continually referred to Plaintiff

       as “Shaft,” another movie where an African-American played a role, when the two

       crossed paths;

              d)        On this same day, comments were made over the two-radio’s insinuating

       Plaintiff was “Shaft”;

              e)        On or about November 23, 2012, managers Bennett, Douds, and

coemployee Schlack made various remarks referring to Plaintiff as Shaft and Samuel L.

Jackson’s character     from the movie Snakes on a Plane;

              f)        On this day, Plaintiff spoke with manager Bennett and informed him of

       his disapproval of the various comparisons being made and being called names other than

       his given name;

              g)        On or about November 29, 2013 manager Bennett stated to Plaintiff, “Hey

       Boy, get these TV’s on the floor!”

              h)        On or about December 2, 2012, coemployee Schafer made various

comments to Plaintiff stating that he wished he could be as famous as Plaintiff implying

Plaintiff was "Shaft" or the star of the movie "Snakes on a Plane."

              i)        On or about December 6th, 2012, coemployees Schlack and Schaffer were

        conversing

       and began laughing upon looking at Plaintiff and one of the two stated, "we hear you

       have another hit coming out; can I have your autograph…” and then the pair again began

       laughing and walking out of the warehouse and into the “Flea Market” area;

              j)        On or about December 13, 2012, coworker Schlack made a comment

        towards Plaintiff stating, “…Up at the crack of dawn like a good boy…”;



                                                                                     Page	  5	  of	  22	  
	  
                k)   On this same day, Shafer made comments towards Plaintiff asking if he

       was excited about his world premiere;

                l)   On or about December 24, 2012, coworker Schlack stated “…So

       tomorrow is your big day, huh?” and when Plaintiff asked what he was talking about, he

       found that his co-workers had been referring to the movie ‘D’Jango’.

                m)   On or about January 5, 2013 Baskin and Bennett informed Plaintiff that he

       would be transferred to the Home Theatre Department in the store because his hours

       were being cut in the warehouse.

                n)   On or about January 24, 2013, manager Baskin approached Plaintiff and

       an employee of Hispanic descent and stated that President Obama should be admired by

       minorities, and that you minorities “…should feel proud…”

                o)   On or about January 29, 2013 Plaintiff, whose hours had been reduced to

       the point where he could not make a living at Best Buy, informed management that,

       unless he could get more hours, he would need to start looking for another job, and

       therefore would have to limit his availability to work for Best Buy to only the weekends;

                p)   On or about January 30, 2013, Manager Baskin denied Plaintiff’s request

       that he be allowed to work only on weekends, and further denied his request for more

       hours.

                q)   On or about February 3, 2013, Plaintiff was moved from the Warehouse

       area of the store to the Home Theatre Department on the stores Sales Floor without first

       receiving any training on the computer systems and without receiving any education on

       the products in the Home Theatre Department;




                                                                                    Page	  6	  of	  22	  
	  
             r)      When Plaintiff requested the training and education from management, the

       request was denied;

             s)      On or about February 3, 2013 manager Baskin again informed Plaintiff

       that his weekend availability request was denied, but this time assured Plaintiff that he

       would be given more hours, which assurances were never met;

             t)      On or about February 17, 2013, Baskin assigned Plaintiff to the Front

       Desk/Customer Service Desk and when Plaintiff informed Baskin that he had received

       no training working the Front Desk, Baskin said “…just wing it…”

             u)      Before Plaintiff’s shift ended, Baskin took Plaintiff into the Admin Office,

       where Baskin criticized Plaintiff’s work at the Customer Service Desk, claiming

       multiple customers complained about Plaintiff’s performance;

             v)      On or about February 24, 2013, after working for Best Buy for almost four

       months, Plaintiff finally received a Systems Guidebook, a Home Guidebook and a Store

       Induction booklet and Plaintiff was promised that he would be allotted “training time;"

             w)       Instead of receiving training, Plaintiff instead he was placed on the sales

       floor and subjected to various distractions while attempting to learn his required “E-

       Learnings, " and Plaintiff was never taught how to correctly process credit card

       payments for the Best Buy Credit Card;

             x)      On or about February 28, 2013, manager Baskin informed Plaintiff that it

       was company policy for him to wear a name-tag or he would have to be sent home and

       Plaintiff informed Baskin that he was never given a name tag, he was then instructed to

       go to the warehouse and see if there was one that could be made.




                                                                                      Page	  7	  of	  22	  
	  
              y)      After Plaintiff informed Baskin that he was told that a proper name tag

       could not be made at that time, Baskin placed a sales sticker on Plaintiff's chest while

       making humiliating statements towards Plaintiff regarding Plaintiff's lack of intelligence

       which humiliating statements continued throughout the rest of the day;

              z)      On or about February 28, 2013, Plaintiff asked Baskin where a specific

       folder was and after showing Plaintiff where the folder was, Baskin insulted Plaintiff by

       stating that he lacked the intelligence to find the folder;

              aa)     On or about March 2, 2013, Baskin informed Plaintiff that if he did not

       complete a specific amount of “E-Learnings” within a short period of time, Plaintiff

       would be taken off of the schedule.

              bb)     At that time Plaintiff informed Baskin that he has not be allotted adequate

       hours to complete the “E-Learnings”, nor was he receiving the same amount of time

       other employees had received to complete the "E-Learning."

              cc)     Defendant Best Buy has a policy that states, “…Each employee is required

       to wear a name badge at all times. Name badges must have the employee’s actual name

       – do not borrow another employee’s name badge…”

              dd)     On or about March 2, 2013, Plaintiff requested a formal name badge from

       Baskin as he had been wearing a sales sticker instead of a badge like all other

       employees.

              ee)     On or about March 2, 2013, Baskin provided Plaintiff with a proper

       employee name badge and as Baskin was handing Plaintiff the name badge, manager

       Stickley told Plaintiff to “…make sure you earn that badge…”;




                                                                                      Page	  8	  of	  22	  
	  
             ff)     On or about March 9, 2013 Plaintiff was written up for leaving out bubble

       wrap in the “Flea Market” area of the store, while completing a sales transaction.

             gg)     On or about the above mentioned date, Plaintiff expressed his concern to

       manager Bennett that he was being written up for leaving out bubble wrap, yet his

       Caucasian co-workers were not being written up for leaving out valuable items in the

       “PRC tote”.

             hh)     In addition, Plaintiff expressed his concern that he was the only person

       being written up for leaving items in the “Flea Market” area of the store, yet when he

       was the employee cleaning the “Flea Market” area of the store, his Caucasian co-

       workers were not written-up for leaving items Plaintiff had to clean up in the “Flea

       Market” area of the store.

             ii)     Defendant Bennett informed Plaintiff that the issues were separate issues

       and incidents and were not compareable;

             jj)     On or about March 9, 2013, Plaintiff spoke with manager Douds over

       being written up by manager Bennett, about not being properly trained, and about the

       overall harassment he was being subjected to, and about being treated differently than

       his coworkers.

             kk)        Manager Douds assured Plaintiff would speak to manager Bennett about

       Plaintiff's concerns, however, with respect to the Douds went onto inform Plaintiff that

       he would do nothing about the harassment as the co-employees were merely having fun

       with him and were not harassing him.

             ll)     On or about March 11, 2013, Plaintiff contacted Best Buy Human

       Resources Department and filed a discrimination and harassment complaint, creating



                                                                                     Page	  9	  of	  22	  
	  
       Claim # 1-115778895, 1) stating management and his co-workers had and continued to

       direct numerous racial toward Plaintiff, that 2) that his hours had been cut, while no-one

       else’s hours were being cut, that 3) being directed to perform more physical labor than

       his co-employees; 4) being adequately trained; and 5) for not being hired for the position

       to which he applied;

                mm)    On or about March 17, 2013, Plaintiff was removed from the Sales Floor

       and returned to work inside the Warehouse;

                nn)    Management informed Plaintiff he was being moved to the Warehouse to

       acquire more hours, however, Plaintiff only working on the days that required physical

       labor;

                oo)    In March 2013 Plaintiff Plaintiff was allotted 4-6 hour shifts to unload

       trucks by himself, while Caucasian workers were scheduled to work 6-8 hour shifts with

       a helper working with them when unloading trucks;

                pp)    Furthermore, Plaintiff was subjected to unloading unstable pallets that

       were over six (6) feet in height and unsafely stacked and Plaintiff expressed concern to

       management regarding his safety, and although manager Bennet represented she would t

       ry to rectify the unsafe conditions with Best Buy Distribution, nothing changed;

                qq)    On or about April 18, 2013, manager Cline approached Plaintiff stating

“…I’ve had      it with these mother**ck*ng snakes on the plane…”

                rr)    On that same day, Cline and Bennett while walking past Plaintiff, Bennett

       said     “…Can you spell it…” Cline answered “…DJANGO, the D is silent…”;

                ss)    At that time Plaintiff informed the above mentioned employees that their

       comments were inappropriate and unwelcome;



                                                                                     Page	  10	  of	  22	  
	  
              tt)     On or about May 9, 2013, Plaintiff contacted the Best Buy's

       Distribution Center about the unsafe conditions while unloading the trucks that carried

       pallets that were unstable and falling over while being taken off of the truck and with

       heavier items being stacked approximately eight (8) to ten (10) feet in the air.

              uu)     Plaintiff was then informed that it was the duty of manager Baskin to call

       and request a change in truck loading procedures to change, learning that manager Baskin

       had not called as she had previously promised;

              vv)     Plaintiff informed management that they would need to call Best Buy's

       Distribution Center to request a change in the loading procedures, but no member of

       management ever called the Distribution Center

              ww)     On or about May 16, 2013, when Plaintiff arrived a little late for work,

       manager Schlack stated, “Late again, I see…” After this was said, manager Bennett

       stated, “You can’t always run on, what do yinz call it… CP time," and both managers

       laughed.

              xx)     On this same date, manager Cline approached Plaintiff numerous times

       throughout the day insisting that Plaintiff recite lines from Snakes on a Plane;

              yy)     On this above mentioned dated, manager Douds continually referred to

       Plaintiff as “Samuel L. Jackson”, “Sammy”, “Samuel L;"

              zz)     On or about May 19, 2013, Plaintiff again filed Claim # 1-117121345 with

       Best Buy’s Human Resources Department alleging discrimination, retaliation, and a

       hostile working environment;




                                                                                     Page	  11	  of	  22	  
	  
             aaa)    On or about May 23, 2013, Schlack and Bennett were sitting at the

       Warehouse desk in the Warehouse area of the store. Schlack asked Plaintiff, “How do

       you get the truck done so quickly?” Before Plaintiff could answer the question, Bennett

       stated, “Because that’s ‘D’Jango’” and the pair began laughing;

             bbb)    On or about June 1, 2013, Baskin reprimanded Plaintiff for attendance

       violations ranging from March 19, 2013 to May 23, 2013;

             ccc)    On or about the above mentioned date, Plaintiff avers he was informed of

       being disciplined for attendance violations that occurred 6 months earlier in December

       of 2012, when nothing had been mentioned at the time.

             ddd)    On June 1, 2013, Plaintiff was informed he was being written up for an

       attendance violation that occurred on January 13, 2013 and for an attendance violation

       that occurred on February 16, 2013;

             eee)    No Caucasian employee were ever reprimanded months after an alleged

       infraction, but received the reprimand at the time of the alleged infraction;

             fff)    On or about June 2, 2013, co-employee Doyle approached Plaintiff and

       stated, “You do not look like a Josh or a Joshua…No…Samuel, a little, D’Jango, just a

       little…” When Plaintiff asked Doyle who he looked like now, Doyle stated “…

       Hmmm… you look like a… Gus! That’s what I’ll call you, Gus…” When Plaintiff

       inquired who “Gus” was, Doyle walked away while laughing;

             ggg)    On the above mentioned date, managers Baskin and Stickley reprimanded

       Plaintiff for attendance violations on June 1 and 2, 2013 and placed the Plaintiff on

       “Final Warning;"




                                                                                       Page	  12	  of	  22	  
	  
             hhh)    On or about June 21, 2013, Plaintiff asked Baskin why he was still not

       receiving the same hours as the Caucasian employees, and at that time Baskin informed

       Plaintiff that she could not speak with Plaintiff about the matter, due to Best Buy's

       Human Resource Department’s ongoing investigation of Plaintiff's claim of

       discrimination;

             iii.)   On or about July 14, 2013, Plaintiff asked Baskin for his disciplinary

       report which manager Baskin failed to provide;

             jjj)     At that time, manager Baskin told Plaintiff to write out in long hand his

       work availability even though the Plaintiff had already posted his work availability on-

       line as every other employee does and no Caucasian employee was ever presented with

       the same demand:

             kkk)    On or about July 20, 2013, managers Baskin and Stickley informed

       Plaintiff that if he did not open his work availability to work Thursday’s and Friday’s to

       unload the truck, he would be terminated.

             lll)    Manager Baskin told the Plaintiff that she had the approval of Human

       Resources and manager Hanley to take this action;

             mmm) On or about July 22, 2013 Plaintiff spoke with the Best Buy’s Human

       Resources Department complaining of discrimination, harassment, retaliation, and a

       hostile working environment.

             nnn)    On the above mentioned date, Plaintiff also contacted manager Hanley

       explaining the current situation and manager Hanley informed Plaintiff that he would

       speak with manager Baskin about the issues and get back to Plaintiff;




                                                                                     Page	  13	  of	  22	  
	  
              ooo)    On or about July 26 2013, Human Resources referred Plaintiff to a

       representative of Best Buy Corporate who referred Plaintiff to Best Buy's Open and

       Honest Line.

              ppp)    On the above mentioned date, Plaintiff contacted Best Buy’s Open and

       Honest Line and explained the situation at hand, creating Report Key# 9482283802;

              qqq)    On or about July 29 2013, Plaintiff again contacted manager Hanley

       stating his concerns and manager Hanley informed Plaintiff that he would further look

       into the situation and would try to find a way to resolve the issues and Hanley informed

       the Plaintiff that if he could not rectify the matter, Hanley would refer the matter to the

       "higher-up’s" in Best Buy Corporate Department;

              rrr)    On or about July 29, 2013, Plaintiff emailed to manager Hanley a copy of

       the Plaintiff's disciplinary report, and also emailed to manager Hanley copies of emails

       from store management to all store employees referencing infractions of other

       employees and reminding the employees not to commit similar infractions, but were

       infractions equal to or worse than Plaintiff's alleged infractions, but, unlike Plaintiff, no

       discipline was meted out;

              sss)    On or about July 30th, 2013, Plaintiff was informed that Report Key#

       9482283802 was transferred to Best Buy Human Resources and given Service Request

       Claim Number 1-120953620;

              ttt)    On or about August 5, 2013, Plaintiff spoke with manager Hanley about

       Plaintiff’s availability and ability to work on August 9, 2013 and requested an

       accommodation for that day which request was denied;




                                                                                       Page	  14	  of	  22	  
	  
              uuu)    Meanwhile, Caucasian employees would receive numerous

       accommodations of their schedules to meet their requests:

              vvv)    At the same time, Plaintiff informed manager Hanley that his hours were

       being cut after being promised more hours;

              www) Hanley informed Plaintiff that he would speak to manager Baskin and get

       back to Plaintiff, yet failed to do so;

              xxx)    On or about August 15, 2013, managers Baskin and Cline reprimanded

       Plaintiff for coming into work late on August 9, 2013;

              yyy)    On or about August 15, 2013, Plaintiff was also reprimanded for not

       putting away all the totes left behind from the truck received on or about August 8, 2013,

       even though the totes should have been put away by other employees before Plaintiff

       began his shift and even though on August 8, 2013 Plaintiff was completing his required

       “E-Learnings;"

              zzz)    Baskin requested Plaintiff to pull up his “E-Learnings” to prove he was

       working on them and Plaintiff stated that the "E-Learnings" were available to any

       manager on-line, and when Plaintiff said this he was written up for refusing to log into

       his “E-Learning;"

              aaaa) Upon being reprimanded for not putting away all the totes, Plaintiff

       informed managers Baskin and Cline that he had put away totes after he completed his

       "E-Learnings" but to put away all of the totes would have required that he stay after

       closing, when no other Caucasian employee had ever been required to work after closing

       to put away totes;




                                                                                    Page	  15	  of	  22	  
	  
                     24.        On August 29, 2013 Plaintiff resigned and presented a “Letter of

           Resignation” to manager Cline, which letter cited discrimination, retaliation, and lack of

           concern for his safety as the basis for his resignation. (See Exhibit "B")

                     25.        Plaintiff was constructively discharged on August 29, 2013.



                                                          CAUSES OF ACTION

                                          I.          DISPARATE TREATMENT

          26.        Paragraphs 1 through 25 above, including all subparts, are hereby incorporated by

reference.

          27.	      Plaintiff	  was	  denied	  the	  full-­‐time	  position	  of	  Asset	  Manager	  as	  a	  result	  of	  Best	  

Buy	  following	  a	  policy	  of	  unlawful	  discriminatory	  hiring	  practices	  between	  Caucasian	  and	  

African-­‐American	  employees.	  

	        28.	      Plaintiff	  was	  relegated	  for	  the	  most	  part	  to	  performing	  physical	  labor	  in	  the	  

warehouse	  as	  opposed	  to	  other	  less	  physically	  demanding	  position	  as	  a	  result	  of	  Best	  Buy	  

following	  a	  policy	  of	  unlawful	  discrimination	  between	  Caucasian	  and	  African-­‐American	  

employees.	   	               	  

	        29.	      Plaintiff	  received	  less	  training	  and	  education	  in	  company	  procedures	  and	  

practices	  than	  similarly	  situated	  Caucasian	  employees	  as	  a	  result	  of	  Best	  Buy	  following	  a	  

policy	  of	  unlawful	  discrimination	  between	  Caucasian	  and	  African-­‐American	  employees	  

	        30.	      Plaintiff	  received	  fewer	  hours	  than	  similarly	  situated	  Caucasian	  employees	  as	  

a	  result	  of	  Best	  Buy	  following	  a	  policy	  of	  unlawful	  discrimination	  between	  Caucasian	  and	  

African-­‐American	  employees.	  




                                                                                                                             Page	  16	  of	  22	  
	  
	            31.	                    Plaintiff	  received	  disparate	  discipline	  compared	  to	  similarly	  situated	  

Caucasian	  employees	  as	  a	  result	  of	  Best	  Buy	  following	  a	  policy	  of	  unlawful	  discrimination	  

between	  Caucasian	  and	  African-­‐American	  employees.	  

	            32.	                    Plaintiff	  received	  less	  accommodation	  of	  his	  schedule	  than	  similarly	  situated	  

Caucasian	  employees,	  as	  a	  result	  of	  Best	  Buy	  following	  a	  policy	  of	  unlawful	  discrimination	  

between	  Caucasian	  and	  African-­‐American	  employees.	   	  

	            33.	                    Defendants'	  discriminated	  against	  the	  Plaintiff	  with	  malice	  and/or	  with	  

reckless	  indifference	  to	  Plaintiff's	  federally	  protected	  rights.	  

	            34.	                    Defendant’s	  discriminatory	  conduct	  violated	  Title	  VII	  of	  the	  Civil	  Rights	  Act	  of	  

1964	  (42	  U.S.C.§	  2000-­‐e	  et	  seq.)	  and	  the	  Civil	  Rights	  Act	  of	  1866	  (42	  U.S.C.	  §1981a)

	            WHEREFORE,	  Plaintiff	  prays	  for	  the	  following	  relief:

       	     A.	                     Judgment	  in	  his	  favor	  and	  against	  Best	  Buy	  for	  back	  pay	  and	  past	  loss	  of	  	  
       	     	                       employment	  benefits	  from	  November	  9,	  2012	  to	  the	  date	  of	  verdict	  for	  the	  	  
       	     	                       wrongful	  refusal	  to	  hire	  Plaintiff	  for	  the	  Asset	  Protection	  job	  and	  for	  front	  pay	  	  
       	     	                       and	  benefits	  from	  the	  date	  of	  verdict	  into	  the	  future	  
       	  
       	     B.	                     Alternatively,	  judgment	  in	  his	  favor	  and	  against	  Best	  Buy	  for	  back	  pay	  and	  	  
       	     	                       past	  loss	  of	  employment	  benefits	  from	  August	  29,	  2013	  the	  date	  of	  the	  	  
       	     	                       Plaintiff's	  Constructive	  Termination	  to	  the	  date	  of	  verdict	  and	  for	  front	  pay	                   	  
       	     	                       and	  benefits	  from	  the	  date	  of	  verdict	  into	  the	  future.	  
       	  
       	     C	  	  	  	          An	  award	  of	  compensatory	  damages	  in	  an	  amount	  to	  be	  determined	  at	  trial.	  

       	     D.	  	  	  	         An	  award	  of	  reasonable	  attorney’s	  fees,	  including	  litigation	  expenses	  and	  	  
       	     	                       costs.	  
       	  
       	     E.	  	  	  	         An	  award	  for	  embarrassment	  and	  humiliation.	  

       	     F.	  	  	  	  	     An	  award	  of	  punitive	  damages	  

       	     G.	  	  	  	         Such	  other	  relief	  as	  the	  Court	  deems	  just	  and	  proper.	  

       	  



                                                                                                                                                 Page	  17	  of	  22	  
	  
                                                                     II.        HARRASMENT

                   35.                  Paragraphs 1 through 25 above, including all subparts, are hereby incorporated by

reference.

                   36.                  While employed by Defendant Best Buy Plaintiff was subjected to pervasive

racially motivated harassment as stated above.

                   37.                  Plaintiff made requests to management, Human Resources and utilized Best Buy's

internal grievance procedures to get the harassment to stop, but to no avail.

              	   38.	                Defendants'	  harassed	  the	  Plaintiff	  with	  malice	  and/or	  with	  reckless	  

indifference	  to	  Plaintiff's	  federally	  protected	  rights.

                   39.                  As a result of the harassment, Plaintiff was constructively discharged on August

29, 2015 and suffered wage loss.

                   40.                  As a result of the harassment the Plaintiff suffered emotional distress.

                   41.                  As a result of the harassment, Plaintiff suffered both economic and non-economic

damages as enumerated below.

              	   42.	                Defendant’s	  discriminatory	  conduct	  violated	  Title	  VII	  of	  the	  Civil	  Rights	  Act	  of	  

1964	  (42	  U.S.C.§	  2000-­‐e	  et	  seq.)	  and	  the	  Civil	  Rights	  Act	  of	  1866	  (42	  U.S.C.	  §1981a)	  

	                 WHEREFORE,	  Plaintiff	  prays	  for	  the	  following	  relief:

       	          A.	                 Judgment	  in	  his	  favor	  and	  against	  Best	  Buy	  for	  back	  pay	  and	  	   	     	  
       	          	                   past	  loss	  of	  employment	  benefits	  from	  August	  29,	  2013	  the	  date	  of	  the	  	  
       	          	                   Plaintiff's	  Constructive	  Termination	  to	  the	  date	  of	  verdict	  and	  for	  front	  pay	           	  
       	          	                   and	  benefits	  from	  the	  date	  of	  verdict	  into	  the	  future.	  
       	  
       	          B.	  	  	  	     An	  award	  of	  compensatory	  damages	  in	  an	  amount	  to	  be	  determined	  at	  trial.	  

       	          C.	  	  	  	     An	  award	  of	  reasonable	  attorney’s	  fees,	  including	  litigation	  expenses	  and	  	  
       	          	                   costs.	  
       	  
       	          D.	  	  	  	     An	  award	  for	  embarrassment	  and	  humiliation.	  


                                                                                                                                          Page	  18	  of	  22	  
	  
       	     E.	  	  	  	  	     An	  award	  of	  punitive	  damages	  

       	     F.	  	  	  	         Such	  other	  relief	  as	  the	  Court	  deems	  just	  and	  proper.	  

       	  

       	  

       	  

                                                                       III.            RETALIATION

              43.                      Paragraphs 1 through 25 above, including all subparts, are hereby incorporated by

reference.

              44.                      After making multiple complaints to Best Buy's local management and to Best

Buy's Human Resources Department and utilizing Best Buy's internal grievance procedures,

Plaintiff was written up for being late for various instances that were at no time discussed with

Plaintiff when they allegedly occurred as retaliation for making said complaints and for utilizing

the grievance procedure.

              45.                      After making multiple complaints to Best Buy's local management and to Best

Buy's Human Resources Department and utilizing Best Buy's internal grievance procedures

Plaintiff was subjected to various unreasonable relocations inside Defendant Best Buy Store

#684 without proper or adequate training as retaliation for making said complaints and for

utilizing the grievance procedure.

              46.                      After presenting and filing numerous complaints with Defendant Best Buy Co.’s

Human Resources Department, managers Baskin and Stickley informed Plaintiff that he was

hired solely to work unloading trucks in the warehouse as retaliation for making said complaints

and for utilizing the grievance procedure.




                                                                                                                              Page	  19	  of	  22	  
	  
                   47.                      After making multiple complaints to Best Buy's local management and to Best

Buy's Human Resources Department and utilizing Best Buy's internal grievance procedures

Plaintiff’s hours were reduced as retaliation for making said complaints and for utilizing the

grievance procedure.

                   48.                      Pleading in the alternative, the retaliatory conduct led to Plaintiff's constructive

discharge, which caused wage loss.

                   49.                      As a result of the retaliation the Plaintiff suffered emotional distress.

                   50.                      As a result of the retaliation, Plaintiff suffered both economic and non-economic

damages as enumerated below.

              	   51.	                    Defendant’s	  retaliatory	  conduct	  violated	  Title	  VII	  of	  the	  Civil	  Rights	  Act	  of	  

1964	  (42	  U.S.C.§	  2000-­‐e	  et	  seq.)	  	  

	                 WHEREFORE,	  Plaintiff	  prays	  for	  the	  following	  relief:

       	          A.	                     Judgment	  in	  his	  favor	  and	  against	  Best	  Buy	  for	  back	  pay	  and	  	   	    	  
       	          	                       past	  loss	  of	  employment	  benefits	  from	  August	  29,	  2013,	  the	  date	  of	  the	  	  
       	          	                       Plaintiff's	  constructive	  termination	  to	  the	  date	  of	  verdict	  and	  for	  front	  pay	             	  
       	          	                       and	  benefits	  from	  the	  date	  of	  verdict	  into	  the	  future.	  
       	  
       	          B.	  	  	  	         An	  award	  of	  compensatory	  damages	  in	  an	  amount	  to	  be	  determined	  at	  trial.	  

       	          C.	  	  	  	         An	  award	  of	  reasonable	  attorney’s	  fees,	  including	  litigation	  expenses	  and	  	  
       	          	                       costs.	  
       	  
       	          D.	  	  	  	         An	  award	  for	  embarrassment	  and	  humiliation.	  

       	          E.	  	  	  	  	     An	  award	  of	  punitive	  damages	  

       	          F.	  	  	  	         Such	  other	  relief	  as	  the	  Court	  deems	  just	  and	  proper.	  

       	  

       	  




                                                                                                                                                Page	  20	  of	  22	  
	  
                                                       COUNT	  III-­‐PENNSYLVANIA	  HUMAN	  RELATIONS	  ACT	  ("PHRA")	  

       	     	              52.	                     Plaintiff	  incorporates	  by	  reference	  the	  allegations	  set	  forth	  above	  in	  

       Paragraphs	  1	  through	  25,	  inclusive,	  as	  if	  more	  fully	  set	  forth	  herein.	  

	     	             	   53.	                        At	  all	  times	  material	  hereto,	  Plaintiff	  has	  been	  an	  "employee"	  within	  the	  

       meaning	  of	  the	  PHRA,	  43	  P.S.	  §954(c).	  

       	             	  	  	  54.	                 At	  all	  times	  material	  hereto,	  Defendant	  has	  been	  an	  "employer"	  within	  the	  

       meaning	  of	  the	  PHRA,	  43	  P.S.	  §954(b).	  

	     	     	  	  	  	  	  	  55.	             By	  virtue	  of	  Defendant's	  actions,	  as	  more	  fully	  set	  forth	  above,	  Defendant	  has	  

       discriminated	  against	  Plaintiff	  because	  of	  his	  race	  in	  violation	  of	  the	  PHRA,	  43	  P.S.	  §955(a).	  

	     	             	   56.	                        As	  a	  result	  of	  said	  violation	  of	  the	  PHRA	  by	  Defendant,	  Plaintiff	  has	  suffered,	  

       and	  will	  continue	  to	  suffer	  damages	  for	  which	  recovery	  is	  allowed	  under	  the	  PHRA,	  43	  P.S.	  

       §962(c).	  

       	                     WHEREFORE,	  Plaintiff	  prays	  for	  the	  following	  relief:

              	              A.	                      Judgment	  in	  his	  favor	  and	  against	  Best	  Buy	  for	  back	  pay	  and	  	   	    	  
              	              	                        past	  loss	  of	  employment	  benefits	  from	  August	  29,	  2013,	  the	  date	  of	  the	  	  
              	              	                        Plaintiff's	  constructive	  termination	  to	  the	  date	  of	  verdict	  and	  for	  front	  pay	                	  
              	              	                        and	  benefits	  from	  the	  date	  of	  verdict	  into	  the	  future.	  
              	  
              	              B	  	  	  	           An	  award	  of	  compensatory	  damages	  in	  an	  amount	  to	  be	  determined	  at	  trial.	  

              	              C.	  	  	  	          An	  award	  of	  reasonable	  attorney’s	  fees,	  including	  litigation	  expenses	  and	  	  
              	              	                        costs.	  
              	  
              	              D.	  	  	  	          An	  award	  for	  embarrassment	  and	  humiliation.	  

              	              E.	  	  	  	  	      An	  award	  of	  punitive	  damages	  

              	              F.	  	  	  	          Such	  other	  relief	  as	  the	  Court	  deems	  just	  and	  proper.	  

              	  

              	  


                                                                                                                                                               Page	  21	  of	  22	  
       	  
	  

       	     	     	     	     	     	     Respectfully	  submitted,	  

       	     	     	     	     	     	     By:	  	  	  	  	  s/John	  Newborg_______	  

       	     	     	     	     	     	     	           John	  Newborg,	  Esq.	  
       	     	     	     	     	     	     	           Pa.	  I.D.	  No.	  22276	  
              	     	     	     	     	     	           225	  Ross	  Street,	  4th	  Floor	  
       	     	     	     	     	     	     	           Pittsburgh,	  PA	  15219	  
       	     	     	     	     	     	     	           (412)	  281-­‐1106	  
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                                                                                                           Page	  22	  of	  22	  
       	  
